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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTICT OF TEXAS
                                   TYLER DIVISION

 SELECTIVE SIGNALS, LLC,
                                    Plaintiff,           Case No. 6:17-cv-64-RWS-KNM
        v.
                                                           JURY TRIAL DEMANDED
 FORTINET, INC.,
                                   Defendant.                (Consolidated Lead Case)


 SELECTIVE SIGNALS, LLC,

                                    Plaintiff,           Case No. 6:17-cv-65-RWS-KNM
        v.

 PALO ALTO NETWORKS, INC.                                  JURY TRIAL DEMANDED

                                   Defendant.


             PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME
               TO RESPOND TO DEFENDANT’S MOTION TO TRANSFER
                VENUE TO THE NORTHERN DISTRICT OF CALIFORNIA

        Plaintiff Selective Signals, LLC (“Selective Signals”) respectfully requests an extension of

 time to respond to Defendant Palo Alto Signals, Inc.’s Motion to Transfer Venue to the Northern

 District of California (Doc. #17) (“Motion”), to and including August 4, 2017. In support of this

 motion, Selective Signals states as follows:

        1.      Palo Alto Signals, Inc. (“Palo Alto”) filed its Motion on July 14, 2017. Pursuant to

 Local Rule CV 7(e), Selective Signals’ response would be due on July 28, 2017.

        2.      Selective Signals requests a one week extension of time to respond to Palo Alto’s

 Motion to and including August 4, 2017.

        3.      Good cause exists for this extension, as it is made in good faith and not intended

 for the purpose of harassment or delay, and no party will be prejudiced by the requested extension.


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        WHEREFORE, Selective Signals, LLC respectfully requests that the time to respond to

 Palo Alto Signals, Inc.’s Motion be extended to and including August 4, 2017.

 DATED: July 24, 2017                         Respectfully submitted,


                                              /s/ Todd Y. Brandt
                                              Todd Y. Brandt
                                              TX SB # 24027051
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                                              Attorneys for Selective Signals, LLC



                              CERTIFICATE OF CONFERENCE

         On July 24, 2017, Todd Brandt, counsel for Plaintiff, conferred with S. Neil Anderson,
 counsel for Defendant Palo Alto Networks, Inc., by email, and Mr. Anderson has agreed to the
 relief sought in this motion.

                                              /s/ Todd Y. Brandt
                                              Todd Y. Brandt



                                 CERTIFICATE OF SERVICE

         I hereby certify that counsel of record who are deemed to have consented to electronic
 service are being served this 24th day of July, 2017, with a copy of this document via the Court’s
 CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of record will be served by
 electronic mail, facsimile transmission and/or first class mail on this same date.


                                              /s/ Todd Y. Brandt
                                              Todd Y. Brandt




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